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AEEendix 3

 

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Matthew Sluss, #F10428
Maryland Correctiona.l
Adjustment Center

401 E. Madison Stree't
Baltimore, MD 21202

Director

United States Citizenship and Imrnigration Services
2100 Pennsylvania Avenue N.W.

4th Floor

Washington, D.C. 20037

Dear Director:

I am a dual citizen of the United States and Canada. Pursuant to 8 U.S.C. § l481(a)(6), I hereby
renounce my United States Citizenship. l certify thatl am expatn‘ating myself voluntarily with
the intent to relinquish United States Citizenship. Iwill retain my Canadian Citizenship and
moving forward, wish to solely be a Canadian Citizen.

My information is as follows:

Matthew David Sluss
DOB 12/17/1975
U.S. SS# ~2256

I sign the forgoing willingly and as my free and voluntary act for the purposes herein expressed,
and further state that I am eighteen years of age or older, of sound mind, and under no constraint
or undue influence, this j day of July, 201 l. '

Tha.nk you very much for your assistance with this matter.

Sincerely,

Sluss

 

